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SENTENCING MINUTES


DATE:       MriV 1. ZCZ5                CASE NUMBER:       1: ^5 CROSI CDJrsi)
JUDGE: David J. Novak, USDJ             CT REPORTER:
                                                         Rcbc^ccO 5.im£ST«eer, ocft^
INTERPRETER:




UNITED STATES OF AMERICA                        AivdABuJ rr. Bncpf^                AUSA


V.                                                            CO^UNSEL               .
                                               JES5;'c,fi N.
M0h^mnv&O Azhrtftuddi'ti-                                       A.                 , ESQ.
               C-hhi Dol                       ^CtdhCLAjj
                                                     (   ) Criminal Informatiop^
SENTENCING ON COUNT(S):               '5             ( ) Indictment ( ^,,.)^perseding Ind

PRELIMINARY MATTERS:                  Sejvte-nC£. Paport
     (Ln>iA. uJiil              D&ms motion FOP-

OBJECTIONS TO PSR:
                           De-fe-^/ domiS oi^echoas -tip PSR. CLri^ued
     OAfl
            ruL in^s mftpg. ^ ovep-i^OLeD
STATEMENTS MADE BY:           GOV’T ( ^DEFENSE COUNSEL (A DEFT (A"

ON MOTION OF GOV’T, ( ) INDICTMENT ( ) REMAINING GTS. DISMISSED.


DEFENDANT TO VOLUNTARILY REPORT TO DESIGNATED INSTITUTION

ON:                                    BY:

(     ) IF NO DESIGNATION MADE, REPORT TO U.S. MARSHAL IN RICHMOND


DEFT ADVISED OF RIGHT OF APPEAL within 14 days of today (

DEFT REMANDED TO CUSTODY          (


CASE SET: \0\30BEGAN: 10’. 32-        ENDED: Ul 33       TIME IN COURT: P.Ol
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                                PAGE TWO (2)

.ST.NTT.NCE TEXT


COUNT      \       TMPR TS nNMT;,-NT 2^0 MOS. CONCURMNT (CONSECUTIVE ( )
                                                     COUMTS a-S
                   CREDIT FOR TIME SERVED ON THIS CHARGE ( \/f
                   SUPERVISED RELEASE              iQ         YEARS

                                                              YEARS
                   PROBATION

                   FINE $                      ( \/fFme not imposed

                   SPECIAL ASSESSMENT $ [00.00 due immediately
 COUNT             IMPRISONMENT _9i            MOS.     CONCURitENTC     ) CONSECUTIVE
                                                                              Coc/MTS 3*^5
                   SUPERVISED RELEASE            10           YEARS           CONCURi^NT (        )

                                                              YEARS           CONCUBJIENT (
                   PROBATION

                   FINE $.                     ( v^ine not imposed
                    SPECIAL ASSESSMENT $ 10O.Q()          due immediately

                                    Cf                                   )I    CONSECUTIVE (i/f
 COUNT              imprisonment         I      MOS.    CONCURRENT!

                                                              YEARS            CONCURRENT ( vO
                    SUPERVISED RELEASE           lO
                                                              YEARS            CONCURRENT (           )
                    PROBATION

                    FINE $                     ( x/f^uiQ not imposed               ^IDO.OO
 COUNT
          A        IMPRISONMENT    Ti          MOS.     CONCURRENT!      ) CONSECUTIVE!
                                                                      C£)CJWTS       3^ E 5
                   SUPERVISED RELEASE            10           YEARS           CONCURRENT!


                   PROBATION                                  YEARS           CONCURRENT!     )

                   FINE $                     (j/^Fine not imposed
                   SPECIAL ASSESSMENT $ iOO^OO            due immediately
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                                      PAGE TWO(j)
SENTENCE TEXT


COUNT        5       IMPRISONMENT          31      MOS.       CONCURRENT(     ) CONSECUTIVE (


                     CREDIT FOR TIME SERVED ON THIS CHARGE (

                      SUPERVISED RELEASE                 0        YEARS


                      PROBATION                                    YEARS


                      FETE $                       ( y^ine not imposed
                      SPECIAL ASSESSMENT $. loo.nQ due immediately
COUNT                 IMPRISONMENT                     MOS.   CONCURRENT (    ) CONSECUTIVE (   )


                      SUPERVISED RELEASE                           YEARS        CONCUPRENT (        )


                      PROBATION                                    YEARS        CONCURRENT (        )


                      FINE $                       (     ) Fine not imposed

                      SPECIAL ASSESSMENT $.                      due immediately

COUNT                 IMPRISONMENT                     MOS.   CONCURRENT (    ) CONSECUTIVE (       )


                      SUPERVISED RELEASE                           YEARS        CONCURRENT (        )


                      PROBATION                                    YEARS        CONCURRENT (            )


                      FINE $                       (     ) Fine not imposed

                      SPECIAL ASSESSMENT $.                      due immediately



 CONSENT ORDER OF FORFEITURE MADE A PART OF JUDGMENT IN CASE (                                  )
 RESTITUTION ORDERED:




 RECOMMENDATION(S) TO BOP:                                                                  FCI
 (   ) Designate dft. to a facility near family ( ) Designate dft. to
 (   ) SHOCK Incarceration Program              ( ) BRAVE Program
 (   ) Educational / Vocational training         ( ) BOP 500-hr intensive drug treatment program
 (   ) UNICOR program ( ) with                 portion of earnings directed to child support
 (   ) OTHER:
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                            SPECIAL CONDITIONS OF SUPERVISION

   1)   The defendant shall comply with the requirements of the computer monitoring program as administered by
        the probation office. The defendant shall allow the probation officer to install computer monitoring
        software on any computer (as defined in 18 U.S.C. § 1030(e)(1)) the defendant uses. The costs of the
        monitoring shall be paid by the defendant. To ensure compliance with the computer monitoring condition,
        the defendant shall allow the probation officer to conduct initial and periodic unannounced searches of any
        computers (as defined in 18 U.S.C. § 1030(e)(1)) subject to computer monitoring. These searches shall be
        conducted to determine whether the computer contains any prohibited data prior to installation of the
        monitoring software, whether the monitoring software is functioning effectively after its installation, and
        whether there have been attempts to circumvent the monitoring software after its installation. The
        defendant shall warn any other people who use these computers that the computers may be subject to
        searches pursuant to this condition. The defendant shall allow the probation officer to install computer
        monitoring software on any computer (as defined in 18 U.S.C. § 1030(e)( 1)) the defendant seeks to use.
        The defendant shall submit to a search of all computers (as defined in 18 U.S.C. § 1030(e)( I)) or other
        electronic communications or data storage devices or media. The defendant shall warn any other people
        who use these computers or devices capable of accessing the Internet that the devices may be subject to
        searches pursuant to this condition. A probation officer may conduct a search pursuant to this condition
        only when reasonable suspicion exists that there is a violation of a condition of supervision and that the
        computer or device contains evidence of this violation. Any search will be conducted at a reasonable time
        and in a reasonable manner. To ensure compliance with computer monitoring or supervision conditions, the
        defendant shall submit any records requested by the probation officer to verify compliance with the
        defendant's conditions including, but not limited to, credit card bills, telephone bills, and cable/satellite
        television bills.
   2)   The defendant shall not utilize, by any means, any social networking forums offering an interactive, user-
        submitted network of friends, personal profiles, blogs, chat rooms or other environment, including but not
        limited to YouTube, Facebook, or Instagram, without prior permission from the probation officer. The
        defendant shall provide account information to the probation officer, to include usernames and passwords.
   3) The defendantshall submit to a search of his person, property, house, residence, vehicle, papers, computer,
        other electronic communication or data storage devices or media, and effects at any time, by any law
        enforcement or probation officer with reasonable suspicion concerning unlawful conduct or a violation of a
        condition of supervision, upon prior notification to and approval by the court or with a warrant.
   4) The defendant’swritten online communications,if any, shall be conducted in the English language, unless
        the defendant receives the approval of the supervising officer.
   5) The defendantshall not communicateor otherwise interact (i.e., in person; through a third party; by
        telephone or mail, electronic or otherwise; or through social media websites and applications) with any
        individual known to be associated with a terrorist organization (domestic or foreign), including, but not
        limited to, the Islamic State of Iraq and al-Sham (ISIS).
   6) The defendant shall not possess, view, access, promote, disseminate, or otherwise use material that reflects
        extremist or terroristic views, (domestic or foreign) and the Islamic State of Iraq and al-Sham (ISIS).
   7)    The defendant shall not be in possession of any items which specifically represent, reference, or are
        associated with the Islamic State of Iraq and al-Sham (ISIS) extremist organization or any other known
        terrorist organization (domestic or foreign).
   8) The defendant shall provide the probation officer access to any requested financial information.
   9) The defendant shall not possess or use marijuana.
   10) The defendant must either work, perform community service or pursue approved educational course
        training, which can include programs for substance abuse and mental health treatment, in the combined
        amount of 30 hours per week, beginning 60 days after the defendant’s release from custody. This condition
        may be modified by the probation officer as needed.
    11) The defendant shall pay the balance owed on any court-ordered financial obligations in monthly
        installments of not less than $25.00, starting 60 days after supervision begins until paid in full.
